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December 26, 2023

Hon. Stephen Alexander Vaden
U.S. Court of International Trade
One Federal Plaza
New York, New York

              Re: United States v. Aegis Security Insurance Company, CIT No. 20-3628
Dear Judge Vaden,
        On behalf of Defendant, Aegis Security Insurance Company (“Aegis”), we write to notify
the Court that Aegis intends to redact certain information from the November 15, 2023, hearing
transcript. The information to be redacted consists of the amount of the bonds issued by
Hartford Insurance Company, the amount of Customs’ demand on Hartford, and the amount of
Customs’ demand on Aegis. We will provide a redacted version of the transcript in accordance
with the Court’s scheduling order.
       Please let us know if you have any additional questions or comments.
                                            Very truly yours,



                                            ________________
                                            Jeffrey M. Telep
                                            Counsel to Aegis Security Insurance Company

cc:    Beverly Farrell, United States Department of Justice
       Randy Ferguson, Sandler, Travis, Rosenburg
       Lee Sandler, Sandler, Travis Rosenburg
